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   16
   17 Attorneys for Defendant
      COUNTY OF LOS ANGELES
   18
                          UNITED STATES DISTRICT COURT
   19
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   20
   21 LA ALLIANCE FOR HUMAN                             CASE NO. 2:20-cv-02291 DOC-KES
   22 RIGHTS, et al.,
                                                        DECLARATION OF MIRA
   23                    Plaintiffs,                    HASHMALL IN SUPPORT OF
                                                        DEFENDANT COUNTY OF LOS
   24              v.                                   ANGELES’ MOTION TO DISMISS
   25 CITY OF LOS ANGELES, et al.,                      Hearing Date: May 10, 2021
   26                                                   Time: 8:30 a.m.
                Defendants.                             Location: Courtroom 9D
   27
                                                        Assigned to the Hon. David O. Carter
   28                                                   and Magistrate Judge Karen E. Scott
        502808.2                                                     Case No. 2:20-cv-02291 DOC-KES
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    1                           DECLARATION OF MIRA HASHMALL
    2              I, Mira Hashmall, declare as follows:
    3              1.    I am an attorney duly admitted to practice before this Court. I am a
    4   partner with Miller Barondess, LLP, counsel of record for Defendant County of
    5   Los Angeles (the “County”). I have personal knowledge of the facts set forth
    6   herein, and if called as a witness, I could and would competently testify to all of said
    7   facts. I make this declaration in support of the County’s Motion to Dismiss and
    8   Request for Judicial Notice.
    9              Request for Judicial Notice
   10              2.    A true and correct copy of the February 2016 report published by the
   11   Los Angeles County Homeless Initiative (“Homeless Initiative”), titled “Approved
   12   Strategies to Combat Homelessness,” is attached hereto as Exhibit 1. This exhibit
   13   is publically available at the Los Angeles County website https://homeless.
   14   lacounty.gov/wp-content/ uploads/2018/07/HI-ReportApproved 2.pdf.
   15              3.    A true and correct copy of the February 28, 2020 Homeless Initiative
   16   Quarterly Report No. 16, submitted to the Los Angeles County Board of Supervisors
   17   (“Board”) by the Los Angeles County Chief Executive Office (“CEO”) is attached
   18   hereto as Exhibit 2. This exhibit is publically available at Los Angeles County
   19   website https://homeless.lacounty.gov/wp-content/uploads/2020/03/Homeless-
   20   Initiative-Quarterly-Report-No.16-Brd-Memo.pdf.
   21              4.    A true and correct copy of the Measures appearing on the March 7,
   22   2017 Ballot is attached hereto as Exhibit 3. These Measures are publically
   23   available at the Los Angeles County website https://www.lavote.net/
   24   docs/rrcc/election-info/03072017-measures-appearing-on-ballot.pdf.
   25              5.    A true and correct copy of the September 29, 2017 report submitted to
   26   the Board by the CEO, titled “Homeless Initiative Measure H Strategy
   27   Implementation Plans,” is attached hereto as Exhibit 4. This exhibit is publically
   28
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    1   available at the Los Angeles County website https://homeless.lacounty.gov/wp-
    2   content/uploads/2019/02/Measure-H-Strategy-Implementation-Plans.pdf.
    3              6.    A true and correct copy of the September 15, 2020 report submitted to
    4   the Board by the CEO, titled “Fiscal Year 2020-21 Measure H and Homeless
    5   Housing, Assistance and Prevention (HHAP) Funding Recommendations,” is
    6   attached hereto as Exhibit 5. This exhibit is publically available at the Los Angeles
    7   County website http://file.lacounty.gov/SDSInter/bos/supdocs/ 148681. pdf#search
    8   =%22% 22CEO-Homeless%20initiative%22%22.
    9              7.    A true and correct copy of the February 22, 2021 Countywide
   10   Homeless Initiative’s Year Four performance evaluation prepared by Public Sector
   11   Analytics is attached hereto as Exhibit 6. This exhibit is publically available at the
   12   Los Angeles County website https://homeless.lacounty.gov/wp content/uploads/
   13   2021/03/ 2021-2-22-Transmitting-the-Countywide-Homeless-Initiatives-Year-Four-
   14   Performance-Evaluation-002.pdf?utm_content=&utm_ medium=email&utm
   15   _name=&utm_ source=govdelivery&utm_term=.
   16              8.     A true and correct copy of the May 15, 2020 report submitted to the
   17   Board by the CEO, titled “Piloting a Comprehensive Crisis Response to Ensure
   18   Post-COVID-19 Housing for Homeless Older Adults in Los Angeles County (Item
   19   No. 8, Agenda of April 14, 2020),” is attached hereto as Exhibit 7. This exhibit is
   20   publically available at the Los Angeles County website
   21   http://file.lacounty.gov/SDSInter/bos/supdocs/145234.pdf.
   22              9.    A true and correct copy of the March 15, 2021 Los Angeles County
   23   Emergency Operations Center COVID-19 Update is attached hereto as Exhibit 8.
   24   This exhibit is publically available at the Los Angeles County website
   25   https://covid19.lacounty.gov.
   26              10.   A true and correct copy of the July 2, 2020 report submitted to the
   27   Board by the CEO, titled “Developing a COVID-19 Recovery Plan Related to
   28   People Experiencing Homelessness (Item No. 4, Agenda of May 12, 2020),” is
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                                                     3               Case No. 2:20-cv-02291 DOC-KES
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    1   attached hereto as Exhibit 9. This exhibit is publically available at the Los Angeles
    2   County website http://file.lacounty.gov/SDSInter/bos/supdocs/145804.pdf.
    3              11.   A true and correct copy of the March 24, 2020 report submitted to the
    4   Board by the CEO, titled “Establishing a Comprehensive Homelessness Crisis
    5   Response Strategy in Los Angeles (Item No. 2, Agenda of January 21, 2020),” is
    6   attached hereto as Exhibit 10. This exhibit is publically available at the Los
    7   Angeles County website http://file.lacounty.gov/SDSInter/bos/supdocs/145145.pdf.
    8              12.   A true and correct copy of the April 14, 2020 Revised Motion by
    9   Los Angeles County Supervisors Mark Ridley-Thomas and Janice Hahn, titled
   10   “Piloting a Comprehensive Crisis Response to Ensure Post-COVID-19 Housing for
   11   Homeless Older Adults in Los Angeles County,” is attached hereto as Exhibit 11.
   12   This exhibit is publically available at the Los Angeles County website
   13   http://file.lacounty.gov/ SDSInter/bos/supdocs/145359.pdf.
   14              13.   A true and correct copy of the Board’s April 14, 2020 Statement of
   15   Proceedings is attached hereto as Exhibit 12. This exhibit is publically available at
   16   the Los Angeles County website http://file.lacounty.gov/ SDSInter/bos/sop/1071503
   17   _041420.pdf.
   18              14.   A true and correct copy of the May 12, 2020 Motion by Los Angeles
   19   County Supervisors Sheila Kuehl and Mark Ridley-Thomas, titled “Developing a
   20   COVID-19 Recovery Plan Related to People Experiencing Homelessness,” is
   21   attached hereto as Exhibit 13. This exhibit is publically available at the Los
   22   Angeles County website http://file.lacounty.gov/SDSInter/bos/supdocs/145559.pdf.
   23              15.   A true and correct copy of the Board’s May 12, 2020 Statement of
   24   Proceedings is attached hereto as Exhibit 14. This exhibit is publically available at
   25   the Los Angeles County website http://file.lacounty.gov/ SDSInter/bos/
   26   sop/1072802_051220.pdf.
   27              16.   A true and correct copy of the May 2, 2017 report to the Board, titled
   28   “Adopt the Department of Mental Health’s Mental Health Services Act Three-Year
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    1   Program and Expenditure Plan for Fiscal Years 2017-18, 2018-19 and 2019-20,” is
    2   attached hereto as Exhibit 15. This exhibit is publically available at
    3   http://file.lacounty.gov/SDSInter/bos/supdocs/113337.pdf.
    4              17.   A true and correct copy of excerpts from the Los Angeles County
    5   Department of Mental Health’s website are attached hereto as Exhibit 16. This
    6   exhibit is publically available at dmh.lacounty.gov/about/mhsa/announcements.
    7              18.   A true and correct copy of the County’s Report of Available Resources
    8   for People Experiencing Homelessness, filed with this Court at ECF Dkt. No. 189, is
    9   attached hereto as Exhibit 17.
   10              19.   A true and correct copy of the December 3, 2020 Homeless Initiative
   11   Quarterly Report No. 18, submitted to the Board by the CEO is attached hereto as
   12   Exhibit 18. This exhibit is publically available at Los Angeles County website
   13   https://homeless.lacounty.gov/wp-content/uploads/2020/12/Homeless-Initiative-
   14   Quarterly-Report-No.-18.pdf.
   15              Local Rule 7-3 Meet and Confer
   16              20.   Before filing the Motion to Dismiss, the County informed Plaintiffs of
   17   the arguments in support of the Motion and requested that counsel participate in a
   18   pre-motion meet and confer. A true and correct copy of the County’s March 15,
   19   2021 letter to Plaintiffs is attached hereto as Exhibit 19. Counsel participated in a
   20   virtual meet and confer on Monday, March 22, 2021. The parties were unable to
   21   resolve or narrow their disputes, and Plaintiffs declined to amend the Complaint.
   22              I declare under penalty of perjury under the laws of the United States of
   23   America that the foregoing is true and correct.
   24              Executed on this 29th day of March 2021, at Los Angeles, California.
   25
   26
                                                       /s/ Mira Hashmall
   27                                                  Mira Hashmall
   28
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    1     INDEX OF EXHIBITS TO THE DECLARATION OF MIRA HASHMALL
    2        Ex.                               Description                             Pg. No.
    3        No.
             1.         February 2016 Report published by the Los Angeles             8-138
    4
                        County Homeless Initiative
    5         2.        February 28, 2020 Homeless Initiative Quarterly Report        139-221
    6                   No. 16
    7         3.        Measures appearing on the March 7, 2017 Ballot                222-225

    8         4.        September 29, 2017 report submitted to the Board by the       226-301
                        CEO, titled “Homeless Initiative Measure H Strategy
    9                   Implementation Plans”
   10         5.        September 15, 2020 report submitted to the Board by the       302-338
                        CEO, titled “Fiscal Year 2020-21 Measure H and
   11
                        Homeless Housing, Assistance and Prevention (HHAP)
   12                   Funding Recommendations”
   13         6.        February 22, 2021 Countywide Homeless Initiative’s Year       339-414
                        Four performance evaluation prepared by Public Sector
   14                   Analytics
   15         7.        May 15, 2020 report submitted to the Board by the CEO,        415-448
   16                   titled “Piloting a Comprehensive Crisis Response to
                        Ensure Post-COVID-19 Housing for Homeless Older
   17                   Adults in Los Angeles County (Item No. 8, Agenda of
   18                   April 14, 2020)”
              8.        March 15, 2021 Los Angeles County Emergency                   449-454
   19
                        Operations Center COVID-19 Update
   20         9.        July 2, 2020 report submitted to the Board by the CEO,        455-464
   21                   titled “Developing a COVID-19 Recovery Plan Related to
                        People Experiencing Homelessness (Item No. 4, Agenda
   22                   of May 12, 2020)”
   23        10.        March 24, 2020 report submitted to the Board by the           465-483
   24                   CEO, titled “Establishing a Comprehensive Homelessness
                        Crisis Response Strategy in Los Angeles (Item No. 2,
   25                   Agenda of January 21, 2020)”
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    1        Ex.                               Description                             Pg. No.
    2        No.
             11.        April 14, 2020 Revised Motion by Los Angeles County           484-487
    3
                        Supervisors Mark Ridley-Thomas and Janice Hahn, titled
    4                   “Piloting a Comprehensive Crisis Response to Ensure
                        Post-COVID-19 Housing for Homeless Older Adults in
    5
                        Los Angeles County”
    6        12.        Board’s April 14, 2020 Statement of Proceedings               488-546
    7        13.        May 12, 2020 Motion by Los Angeles County Supervisors 547-551
    8                   Sheila Kuehl and Mark Ridley-Thomas, titled
                        “Developing a COVID-19 Recovery Plan Related to
    9
                        People Experiencing Homelessness”
   10        14.        Board’s May 12, 2020 Statement of Proceedings         552-611
   11        15.        May 2, 2017 report to the Board, titled “Adopt the            612-902
   12                   Department of Mental Health’s Mental Health Services
                        Act Three-Year Program and Expenditure Plan for Fiscal
   13                   Years 2017-18, 2018-19 and 2019-20”
   14        16.        Excerpts from the Los Angeles County Department of            903-918
   15                   Mental Health’s website
             17.        County’s Report of Available Resources for People             919-936
   16
                        Experiencing Homelessness
   17        18.        December 3, 2020 Homeless Initiative Quarterly Report         937-1003
   18                   No. 18, submitted to the Los Angeles County Board of
                        Supervisors
   19
             19.        March 15, 2021 Letter re Motion to Dismiss                    1004-
   20                                                                                 1008
   21
   22
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